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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               )
    In re:                                                     ) Chapter 7
                                                               )
    CHRISTMAS TREE SHOPS, LLC, et al.,1                        ) Case No. 23-10576 (TMH)
                                                               )
                                        Debtors.               ) (Jointly Administered)
                                                               )

                          NOTICE OF APPEARANCE AND REQUEST
                      FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

                    PLEASE TAKE NOTICE that George L. Miller, chapter 7 trustee for the estates

of the above-captioned debtors (the “Trustee”) hereby appears through his counsel, Pachulski

Stang Ziehl & Jones LLP (“PSZ&J”). PSZ&J hereby enters its appearance pursuant to section

1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and requests that the

undersigned be added to the official mailing matrix and service lists in these cases. PSZ&J

requests, pursuant to Bankruptcy Rules 2002, 3017, and 9007 and section 1109(b) of the

Bankruptcy Code, that copies of all notices and pleadings given or required to be given in these

chapter 7 cases and copies of all papers served or required to be served in these chapter 7 cases,

including but not limited to all notices (including those required by Bankruptcy Rule 2002),

reports, pleadings, motions, applications, lists, schedules, statements, and all other matters arising

herein or in any related adversary proceeding, be given and served upon the Trustee through

service upon PSZ&J at the addresses, telephone numbers, and facsimile numbers set forth below:




1
         The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
         as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
         Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


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 PACHULSKI STANG ZIEHL & JONES LLP
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                 PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of any

application, complaint or demand, motion, petition, pleading or request, and answering or reply

papers filed in these cases, whether formal or informal, written or oral, and whether served,

transmitted, or conveyed by mail, hand delivery, telephone, telegraph, telex, or otherwise filed or

made with regard to the above-captioned cases and proceedings therein.

                 PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and

Request for Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a

waiver of any of the rights of the Trustee, including, without limitation, to: (i) have final orders in

non-core matters entered only after de novo review by a higher court; (ii) trial by jury in any

proceeding so triable in this case, or any case, controversy, or adversary proceeding related to these

cases; (iii) have the reference withdrawn in any matter subject to mandatory or discretionary

withdrawal; or (iv) any other rights, claims, actions, defenses, setoffs, or recoupments to which the




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Trustee may be entitled in law or in equity, all of which rights, claims, actions, defenses, setoffs,

and recoupments are expressly reserved.


Dated: August 22, 2023              PACHULSKI STANG ZIEHL & JONES LLP
Wilmington, Delaware
                                     /s/ Bradford J. Sandler
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                                    Counsel to George L. Miller, Chapter 7 Trustee




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